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 9 United States Department of Justice

10 Attorneys for United States of America

11                                  UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                              Criminal No. 3:21-CR-00155-JD

15          Plaintiff,                                    STIPULATION AND [PROPOSED]
                                                          ORDER SETTING BRIEFING SCHEDULE
16                                                        AND CONTINUING STATUS CONFERENCE
                              v.
17
     CARLOS E. KEPKE,
18
            Defendant.
19

20         With the agreement of the parties, the Court enters the following Scheduling Order:

21         1.      With respect to the following motions:

22   Date Filed           # Docket Text
23   08/05/2022          61 MOTION to Exclude United States' Motion to Exclude Defendant's Proffered
                            Expert Witness, Rodney Read by USA as to Carlos E. Kepke.
24
     08/05/2022          63 MOTION to Exclude or in the Alternative, to Limit Certain Opinions and
25
                            Testimony of Bruce G. Dubinsky by Carlos E. Kepke.
26   08/05/2022          64 MOTION to Exclude or in the Alternative, to Limit Certain Opinions and
27                          Testimony of Agent James Oertel by Carlos E. Kepke.

28
     STIPULATION AND [PROPOSED]                      1
     ORDER SETTING BRIEFING SCHEDULE AND
     CONTINUING STATUS CONFERENCE
     Case No.: 3:21-CR-00155-JD
 1 all Responses must be filed by August 19, 2022, and any Replies must be filed by August 26, 2022.

 2 These motions will be heard by the Court on September 12, 2022, at 10:30 a.m., or as soon thereafter as

 3 the matter may be heard, before the Honorable James Donato, United States District Court, San

 4 Francisco Courthouse, Courtroom 11 – 19th Floor, 450 Golden Gate Avenue, San Francisco, California.

 5          2.      With respect to the following motion:

 6    Date Filed        # Docket Text
 7    08/10/2022      66 MOTION in Limine United States' Motion in Limine to Admit Evidence of
                         Undercover Contacts by USA as to Carlos E. Kepke.
 8

 9 all Responses must be filed by August 24, 2022, and any Replies must be filed by August 31, 2022.

10 This motion will be heard by the Court on September 12, 2022, at 10:30 a.m., or as soon thereafter as

11 the matter may be heard, before the Honorable James Donato, United States District Court, San

12 Francisco Courthouse, Courtroom 11 – 19th Floor, 450 Golden Gate Avenue, San Francisco, California

13          3.      The Status Conference currently set for this matter on August 15, 2022, is hereby
14 continued to September 12, 2022, at 10:30 a.m. The Court previously excluded time under the Speedy

15 Trial Act through November 28, 2022. See Doc. 39.

16          The undersigned attorney for the government certifies that he has obtained approval from
17 counsel for the Defendant to file this stipulation and proposed order.

18

19     IT IS SO STIPULATED.                              STEPHANIE M. HINDS
                                                         United States Attorney
20
                                                         s/ Michael G. Pitman
21                                                       COREY J. SMITH
                                                         Senior Litigation Counsel
22                                                       MICHAEL G. PITMAN
                                                         Assistant United States Attorney
23
                                                         Attorneys for United States of America
24

25

26                                                       s/ Grant P. Fondo
                                                         GRANT P. FONDO
27
                                                         Attorney for Defendant Carlos E. Kepke
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      STIPULATION AND [PROPOSED] SCHEDULING ORDER    2
      Case No.: 3:21-CR-00155-JD
 1

 2    IT IS SO ORDERED.
 3

 4    Dated: ___________________                       ____________________
 5                                                     JAMES DONATO
                                                       United States District Judge
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     STIPULATION AND [PROPOSED] SCHEDULING ORDER   3
     Case No.: 3:21-CR-00155-JD
